
WHITE, J.,
delivered the opinion of the Court:
At the September Term of the present year, the prisoner, Shelton, was convicted of grand larceny, committed ^before the first day of August last; whereupon, he pleaded in arrest of judgment, that “ there was no law then in force for tfie punishment of the offence whereof he was convicted,” and the Court adjourned the question growing out of that plea to this Court for its decision.
This plea was filed under an impression, that the first section of the Act of Assembly passed on the 21st February, 1823, embraced *281this case. But this Court, being- unanimously of opinion that that section does not extend to any offence which, at the time of the passage of the act, might have been punished by an imprisonment in the Jail and Penitentiary-house for more than two years, doth decide, that judgment on the said verdict ought not to be arrested for any thing alleged in and by the said plea.
